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                                UNITED STATES DISTRICT COURT
                                         DISTRICT OF NEW JERSEY
                                                (973) 776-7700
              CHAMBERS OF                                                                 U.S. COURTHOUSE
        JAMES B. CLARK, III                                                         50 WALNUT STREET, ROOM 2060
   UNITED STATES MAGISTRATE JUDGE                                                         NEWARK, NJ 07102




                                              June 21, 2021

                                           LETTER ORDER

       Re:     SANTOS v. THE TRUSTEES FOR THE INTERNATIONAL PAINTERS AND
               ALLIED TRADES PENSION FUND et al
               Civil Action No. 20-9182 (JMV)

       Dear Counsel:

       As discussed during the telephone conference held in the above-captioned matter earlier today,

the Court will conduct a settlement conference with the parties on August 26, 2021 at 1:00 P.M. All

counsel and clients with full settlement authority shall participate in the conference. By no later than

August 23, 2021, the parties shall submit separate confidential ex parte settlement position papers not

to exceed five (5) pages. Such letters are not to be filed, but are to be sent directly to Chambers via

email (JBC_Orders@njd.uscourts.gov).


       IT IS SO ORDERED.


                                                           s/ James B. Clark, III
                                                         JAMES B. CLARK, III
                                                         United States Magistrate Judge
